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UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF LOUISIANA

USAA GENERAL INDEMNITY COMPANY,
AS SUBROGEE OF CLAUDE BENOIT,

Plaintiff
Civil Action No.: 3:16-cv-498-JWD-RLB
V.

OMEGA FLEX, INC.
A Foreign Corporation,

Defendant.

PLAINTIFF’S MEMORANDUM IN SUPPORT OF MOTION IN LIMINE TO
EXCLUDE CERTAIN OPINION TESTIMONY OF DR. TIMOTHY MORSE

TO THE HONORABLE UNITED STATES DISTRICT COURT:

Now comes Plaintiff United Services Automobile Association as subrogee of Claude
Benoit (hereinafter “USAA”), by and through its attorneys of record, and moves to strike certain
opinion testimony of Dr. Timothy Morse, and for good cause shall show unto this Court the

following:

I. BRIEF FACTUAL BACKGROUND GIVING RISE TO THIS LAWSUIT

 

1. Claude Benoit owned a home located at 10592 Creek Haven Drive, Denham Springs,
Louisiana. USAA was Claude Benoit’s homeowners’ insurance carrier. On June 24, 2015, the
home was destroyed in a severe fire that ignited after lightning struck Benoit’s ornamental metal
chimney cap.! The fire started as a result of electrical energy flowing from the chimney cap, down
the metal flue, then through the home’s corrugated stainless steel tubing (commonly referred to as

“CSST”) that was connected to the gas burner inside the fireplace.? The electrical energy from the

 

' See pg. 5 of Integrity report dated July 28, 2017, attached as Exhibit A.
? Exhibit A.

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lightning strike perforated two holes in the CSST and ignited the escaping natural gas. (Fig. 1,

below)

 

2. CSST is a very thin walled (ten mils or approximately as thin a four sheets of paper) tube
that has been marketed since the 1990’s as a replacement for black iron pipe, which was traditional
used for gas distribution inside homes. The CSST that was installed at the Benoit home was
yellow-jacketed CSST. The name “yellow-jacketed” is derived from the color of the CSST’s
insulating material. Yellow-jacketed CSST has proved itself to be uniquely vulnerable to damage
caused by electrical energy from a lightning strike. Specifically, the electrical energy from a
lightning strike has the potential to puncture holes in CSST’s wall as it flows across the
corrugations. In fact, the concern about lightning-induced punctures of yellow-jacketed CSST
caused the City of Lubbock to ban its use as of May 16, 2016, after a Lubbock resident was killed
in a fire at his home that was caused by a lightning-induced failure of yellow-jacketed CSST.

3. Omega Flex, Inc. manufactured the yellow-jacketed CSST that was installed at the Benoit

home. The length of CSST where the two holes were located ran from the home’s north end and

 

3 Exhibit A.

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connected to the fireplace’s gas log. (See Fig. 2). The holes were discovered along the CSST in
the attic space above the living room, near the chimney.*

4. Omega Flex retained Dr. Timothy Morse to proffer several opinions in this matter.5 Dr.
Morse never went to the Benoit home to conduct a post-fire examination.© His knowledge of the
Benoit home is based on his review of photographs taken by the assistant of Omega Flex’s origin
and cause expert, Dave Smith.’ Nevertheless, Dr. Morse agrees that the fire started in the home’s
attic area; however he opined that the fire started in the attic over the carport.? Furthermore, Dr.
Morse agrees that lightning struck the ornamental metal chimney cap and passed down the metal
flue, and through the CSST where the holes were found, until it reached the ground.’ He agrees
that energy produced by lightning can puncture holes in CSST.!° Lastly, he agrees that the holes
find in the CSST recovered from the Benoit home were created by an electrical current.!!

5. However, Dr. Morse opined that the electrical charge that made the holes in the CSST did
not originated from the lightning energy that flowed through the CSST on its path to ground.”
Instead, he contends that the electrical energy that made the holes came from a recessed can light
that remained energized during the fire.'? Dr. Morse opined that, while the fire was progressing
from above the carport to the attic over the living room, the electrical circuit that connected to the

recessed can light remained energized.'* As the fire approached the can light in the living room,

 

4 Exhibit A.

° See Report of Dr. Timothy Morse, attached as Exhibit B.

° Deposition of Dr. Timothy Morse, pg. 18, Il. 7-9., attached as Exhibit C.
7 Exhibit C, pg. 18, Il. 1-25.

8 Exhibit B, pg. 12-14.

* See Deposition of Dr. Timothy Morse, pg. 109-110, Il. 7-25, 1-2, attached as Exhibit C.
10 Exhibit C, pg. 121, Il. 1-5.

Exhibit B, pg. 24-25.

12 id

13 Id.

14 Id.

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the heat melted the insulation around the light’s wiring inside the can.!5 Eventually, the bare “hot”
wire touched the light’s frame, causing it to become energized. Ignoring the probability that heat
from the fire would have melted the circuit’s insulation and caused it to short-circuit much sooner
than when it reached the living room can light, Dr. Morse opined that the electricity from the

energized frame jumped across to the CSST; thereby, creating the two holes.

 

Carport

 

 

 

 

6. Dr. Morse’s opinions are predicated on first calculating the amount of electrical energy it
took to create the holes in the CSST, then—working backwards—calculating the amount of energy

the lightning that struck the chimney cap possessed. In arriving at his conclusions, Dr. Morse

 

15 Td,

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first tried to apply the Hagenguth formula (a method for measuring electrical energy based on the
area of the hole created in sheet metal) to lightning damage found on the metal chimney cap.!6
Second, Dr. Morse used a different formula that required knowing the lightning’s peak current and
waveform. Not surprisingly, Dr. Morse opined that the lightning bolt did not possess a sufficient
charge to create the size of the holes found on the CSST. As plaintiff will further show, there is
no scientific bases that supports applying the Hagenguth formula to the damage found on the
chimney cap. Further, Dr. Morse had to guess at the waveform for the lightning bolt because there
is no data showing the actual waveform for the lighting that struck the chimney cap. Dr. Morse’s
opinions regarding the amount of energy the lightning bolt contained are unreliable and he should
not be permitted to offer those opinions to the jury.
IL. STANDARD FOR DAUBERT CHALLENGE

7. Expert testimony is subject to the requirements of Federal Rule of Evidence 702. Under
Rule 702, expert testimony is admissible only if 1) the expert is qualified, 2) the expert’s methods
are reliable, and 3) the expert’s methods fit the facts of the case. See Daubert v. Merrell Dow
Pharm., Inc., 509 U.S. 579, 589-91 (1993); see also Schneider v. Fried, 320 F.3d 396, 404 (3d Cir.
2003) (“We have explained that Rule 702 embodies a trilogy of restrictions on expert testimony:
qualification, reliability and fit.”). This standard applies to scientific testimony as well as
“testimony based on ‘technical’ and ‘other specialized’ knowledge.” Kumho Tire Co. vy.
Carmichael, 526 U.S. 137, 141 (1999). The proponent of expert testimony bears the burden of
showing that it satisfies the requirements of Rule 702. Oddi v. Ford Motor Co., 234 F.3d 136, 144

(3d Cir. 2000).

 

*6 Exhibi B.

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8. A district court’s task in assessing evidence proffered under Rule 702 is to determine
whether the evidence “both rests on a reliable foundation and is relevant to the task at hand.”
Daubert, 509 U.S. at 597. In determining reliability, the district court may consider “(1) whether
the methodology can be and has been tested, (2) whether the theory or technique has been subjected
to peer review, (3) the known or potential rate of error of the methodology employed, and (4)
whether the methodology is generally accepted.” Hughes v. Kia Motors Corp., 766 F.3d 1317,
1328 (11th Cir. 2014) (citing Daubert, 509 U.S. at 593-94). The district court “is free to ‘conclude
that there is simply too great an analytical gap between the data and the opinion proffered.’”
Hendrix v. Evenflo Co., Inc., 609 F.3d 1183, 1194 (11th Cir. 2010) (quoting Gen. Elec. Co. v.
Joiner, 522 U.S. 136, 146 (1997)). An expert who presents testimony must employ “in the
courtroom the same level of intellectual rigor that characterizes the practice of an expert in the
relevant field.” Kumho Tire Co. v. Carmichael, 526 U.S. 137, 152 (1999).
I. ARGUMENT

A. Summary of Objection to Dr. Morse’s Opinions.

9. The lightning bolt that struck Benoit’s chimney cap damaged several points near the top of
the cap.” All of the points where the lightning bolt hit the metal chimney cap melted some of the
metal (also referred to pitting) but did not create a hole. However, Dr. Morse opined that he
believed that the lightning did create a “hole” along the seam for the chimney cap, where one piece
of metal folded over a second piece. Using the Hagenguth formula, Dr. Morse measured the
chimney cap “hole” and concluded that it was created by a charge of 4.3 coulombs (4.3 C). Dr.
Morse measured that it took 7 coulombs to create the two holes on the CSST using the same

formula. Dr. Morse concluded that the amount of charge deposited at the chimney cap was

 

17 Exhibit A, pg. 20.

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insufficient to create the two holes found along the Benoit home CSST. Dr. Morse’s opinion is

fundamentally flawed because:

(1)

(2)

(3)

1.

Hagenguth formula is only applicable when the electrical charge creates a hole
in the sheet metal. The electrical charge did not form a hole in the metal chimney
cap;

the Hagenguth formula was developed based on experiments on a single sheets of
flat metal. The area of the chimney where Dr. Morse found a “hole” consisted of
two metal sheets folded over each other. There is no scientific literature or studies
that support that Hagenguth formula can be applied to multiple layered sheets of
metal;

the area of the hole and the thickness of the sheet of metal are critical variables that
must be measured before applying the Hagenguth formula. Dr. Morse did not
measure the thickness of the two sheets of metal where he believe the “hole” was
formed.

A brief history of the Hagenguth experiments.

10. During the 1940’s, a scientist named J.H. Hagenguth conducted experiments to study the

amount of electrical charge necessary to create holes in thin sheets of metal.'8 Hagenguth

determined that it was the amount of charge—measured in coulombs—that created holes in metal

and not the amount of electrical current.'? Hagenguth experimented on different types of metal 2°

However, his testing was restricted to flat single-layered metal sheets.?! Hagenguth concluded

that the amount of coulombs in an electrical discharge that created a hole was a function of the

hole’s area and the thickness of the metal—the Hagenguth formula.

11. Hagenguth observed that, often times, lightning would melt the metal where it hit, but it

would not create a hole.” Hagenguth referenced these areas as pitting. Hagenguth recognized

 

'’ McEachron, J.B., Hagenguth, J.H., Effect of Lightning on Thin Metal Surfaces, ATEE Transactions, Vol. 61,
August 1942, attached as Exhibit D.

19 ld
20 Id.
21 Td
22 Id.
23 Td.

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that the pitting represented some level of electrical charge, but he was unable to correlate the size
of pitting or melting to a specific number of coulumbs.”4 Therefore, one of the overriding
principles of Hagenguth’ study is that the electrical energy must create a hole in order to accurately
measure the number of coulombs that was deposited by lightning onto the metal sheet.

12. Because CSST consists of a thin sheet of corrugated metal, the Hagenguth formula can be
used to approximate the amount of charge (coulombs) created the hole. Plaintiff and defendant’s
experts utilized a computer program that measured the area of holes in the Benoit home CSST as
if the metal was on a flat plane. All the experts concurred that a charge of in the range of 7 — 10
coulombs created the holes found on the CSST.?°

2. The lightning attachment at the chimney cap did not create a hole. Therefore
Hagenguth formula cannot be used to calculate the amount of charge.

13. Dr. Morse incorrectly asserts that the lightning bolt created a hole at the chimney cap.

 

 

24 Id.
5 Exhibit A.

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As depicted in Figure 3 above, there is not a complete hole through the layers of metal the make
up the chimney’s cap. The lightning bolt did not puncture a hole through the second layer of sheet
metal that form the chimney cap’s seam. In order accurately calculate the area of a hole to apply
the Hagenguth formula, a through-and-through hole must exist in the metal service.”° In contrast,
the Hagenguth formula can be used to approximate the number of coulombs that made the holes
in the CSST (Fig. 4, below) because there is a complete hole. There is empty space beyond the
hole. You can clearly see the second piece of unburned metal underneath he “hole” that Dr. Morse

discovered along the chimney cap. Clearly, the lightning energy did not perforate a complete hole.

   

The area of damage in the chimney cap that Dr. Morse opined was a “hole,” more closely
resembles the “pitting” or melting that Hagenguth observed in his studies.”’ Because lightning did
not make a complete hole in the metal chimney cap, Hagenguth’s paper specifically provided that
the Hagenguth formula was not scientifically reliable to determine the amount of electrical charge

that was deposited on the Benoit chimney cap.78

 

26 Exhibit D.
27 Td.
28 Id.

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3. There is no scientific literature or study that has applied Haggenguth formula
to double-layered sheets of folded metal.

14. Hagenguth derived his formula after experimenting on single sheets of flat metal29 To

 

Plaintiff's knowledge, there are no studies or scientific literature that analyzed the application of
Hagenguth ’s methodology to multiple layered metal sheets. In fact, Dr. Morse simply ignores the
existence of the second sheet of metal that is under the top sheet when describing how he applied

the Hagenguth formula:

“There is [a second sheet of metal], but at the very top that doesn’t
really come into play in the geometry, and that’s not part of the
portion that’s melted. So I think if we’re focusing on the local
geometry of where the melting occurred, it’s much more like a single
piece of metal... (Dr. Morse’s Depo, pg. 144, Il. 11-14.

15. Dr. Morse incorrectly described the layered metal sheet where he discovered the “hole.”

As depicted in Figure 5, the area where the “hole” was located consists of a piece of sheet metal

folded over and connected to a second sheet of sheet metal.

 

 

29 Exhibit D.

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The area of melting along the crest was located at the top of the above-depicted curve. Clearly,
Dr. Morse’s description that “it?s much more like a single piece of metal” is false. Dr. Morse
further fails to cite any studies or scientific literature supporting the opinion that the Hagenguth
formula can used to determine the amount of coulombs deposited by lightning on a metal sheet
that has been folded over and conjoined with a second metal sheet.

4, Dr. Morse did not use the thickness of both metal sheets when applying the
Hagenguth formula.

16. Even assuming, in arguendo, that Hagenguth formula could be used to calculate the
melting found on the Benoit home’s chimney cap crest, Dr. Morse stated that he did not measure
the thickness of both metal sheets.°? One of the two variables for the Hagenguth formula is metal
sheet’s thickness. Dr. Morse testified that he believed that Hagenguth could be applied to two
layers of sheet metal, by “just doubling the thickness of metal, and I think Hagenguth would apply
pretty closely, you just have to double the thickness.”*! However, Dr. Morse assumes—for his
calculations—the top folded metal sheet was not in contact with the second sheet.” As depicted
in Fig. 5, above, Dr. Morse’s assumption is inconsistent with the physical evidence from the Benoit
chimney cap.

17. | Here, Dr. Morse did not measure the thickness of the second piece of adjoining (bottom)
sheet metal.*> Although there is no support for applying the Hagenguth formula to the geometry
where the chimney cap damage was located, Dr. Morse made no attempt to duplicate Hagenguth’s
principles (measuring entire thickness) for his calculations. Simply, Dr. Morse ignored all the

variables that are critical to accurately and reliably applying the Hagenguth formula to the melting

 

30 Exhibit C, pg. 147, Il. 5-20.
31 Exhibit C, pg. 143, IL 8-14.
32 Exhibit C, pg. 144, Il. 11-14.
33 Exhibit C, pg. 147, Il. 8-20.

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found at the chimney cap’s crest in order to reach the conclusion that the lightning bolt had
insufficient charge to create the holes found on the CSST. Thus, Dr. Morse should not be permitted

to opine that charge deposited by the lightning bolt that struck the chimney cap was 4.3 coulombs.

B. Dr. Morse guessed at the value of a critical variable when making his second
calculation as to the amount of coulombs discharged by the lightning on the chimney
cap.

18. It is possible to calculate the amount of coulombs a particular lightning bolt possessed

based on the peak current and waveform for the lightning. The peak current for lightning strikes
that hit the ground are measured by the StrikeNet report.*+ Here, the experts agree that the
lightning that struck the chimney cap had a peak current of 40.1 kA.25

19. The second variable in the equation is the lightning’s waveform. Generally, the waveform
is the amount of time (measured in microseconds) it took the lightning bolt to reach its peak
electrical current and the amount of time (measured in microseconds) it took the electrical current
to decay to half its peak current.*° The waveform is represented by a ratio formula of the rise rate
compared to the decay rate (For example: 4.1 x 350). Generally, the longer the decay rate, the
stronger the more coulombs.

20. Because there was no instrumentation at the Benoit home to measure the waveform for the

lightning bolt that struck the chimney, Dr. Morse does not know the specific waveform.*’

 

4 Exhibit B

35 Exhibit B, pg. 7.

36 Exhibit C, pg. 205, II.10-23.

°7Q. -You’re using the median waveform here?

A. Yes.
Q. Okay. What’s to prevent somebody from using a decay of 125 microseconds.

A. I mean, someone could do whatever calculation they want. I think given the information we have, the most
appropriate value to use is the median value because it’s most likely to be closet to the actual waveform.

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Therefore, Dr. Morse was forced to assume a median waveform for a first negative return stroke
(5.5 x 75) in his calculations.3> Dr. Morse obtained the median waveform from the IEC Standard
TEC62305-1 Protection Against Lightning (2006), a standard used for the design of lightning
protection systems. Dr. Morse admitted that the median is not the most likely waveform for the
lightning the struck the Benoit chimney cap.*? Instead, the median waveform provides the 50
percentile (middle) for observed waveforms. If analyzing 100 lightning strikes, 50 of those
lightning strikes would have a longer decay rate and, therefore, more electrical charge.

21. The only evidence that Dr. Morse cites to support the assumption that the actual waveform
that struck the Benoit chimney was close to the median waveform he used in his calculation was
his unreliable use of the Hagenguth’s formula on the melting found on the chimney cap. Dr. Morse
admitted that he did not make any comparisons using different waveforms.*? Indeed, Dr. Morse
admitted that, in the many cases involving Omega Flex that he has been retained to calculate the
current waveform, he has never deviated from using the median current waveform.*!

22. Dr. Morse further ignores the generally accepted principle that the median amount of
charge (coulombs) that a single negative stroke of lightning is 15 coulombs.*2 Dr. Morse’s
adoption of the median current waveform—while simultaneously ignoring the median charge for

a single flash—is inconsistent with the scientific method. Because “median” is simply the middle

 

Exhibit C, pg. 206, Il. 11-16.
38 Exhibit B.
°Q. Well, median is not likely. It’s middle.

Mr. Guilmartin: Objection. Is there a question?
Q. Imean you would agree with me; right?

A. Yeah. And perhaps I should have said “most representative” instead of “most likely.”
Exhibit C, pg. 210, Il. 10-16.

“° Exhibit C, pg. 211, Il. 4-21.

‘| Exhibit C., pg. 207, 7-12.

“2 See Exhibit A.

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(50" percentile) of waveforms for observed lighting strikes, it holds no predictive value for the
specific waveform for the lightning that struck the Benoit home. Identifying the actual waveform
that struck the home is critical to accurately measuring the amount of coulombs and assuming it
was “close” to the median waveform is fundamentally unreliable.

23. Courts routinely excluded expert opinion testimony that is based on questionable data or
assumptions. See Leblanc v. Chevron USA, Inc., 396 Fed. Appx. 94, 98 (5" Cir. 2010); see also
Burst v. Shell Oil Co., 104 F. Supp.3d 7736, 779-80 (E.D. La. 2015). Courts particularly critical
of expert testimony based on assumptions and circular reasoning. See General Electric Co. v.
Joinder, 522 U.S. 136, 146 (1997). The courts should not permit an expert to render opinion
testimony the expert’s opinion is connected to the data only by the ipse dixit of the expert. Id.
Here, Dr. Morse’s calculation that the lightning bolt that struck the Benoit home deposited only
4.3 coulombs of charge is based solely on his use of the median current waveform for his
calculations. There is no evidence that the lightning’s waveform was similar to the median
waveform. Moreover, the use of the median waveform is not statistically the most likely waveform
for the lightning bolt that struck the Benoit home. It’s the middle or 50" percentile for negative
strokes.

24. The current waveform that Dr. Morse adopted for his opinion was simply a guess. Similar
to the expert opinions in Leblanc and Burst that guessed as to the level of chemical exposure that
the injured plaintiffs may have sustained at their workplace, Dr. Morse makes the same guess as
to the current waveform for the lightning bolt that struck the Benoit home. Dr. Morse tries to
bolster his calculations by relying on his own faulty use of the Hagenguth formula (as discussed
supra) on the damage to the chimney cap. Dr. Morse’s adoption of the median current waveform

for his calculation is scientifically unreliable and inconsistent with the generally accepted

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principles that a median lightning strike has 15 coulombs. Therefore, he should not be permitted
to express the opinion that he calculated the
IV. CONCLUSION

25. Dr. Morse’s calculations and opinions regarding the amount of electrical energy the
lightning bolt that struck the Benoit had are based on the unreliable assumption that the Hagenguth
principles can be applied to the geometry and composition of the chimney cap. Dr. Morse does
not provide any supporting scientific literature or testing to support that opinion. Second, his use
of the median waveform is a guess. There is no evidence to support that the median waveform was
more likely than not the correct waveform. Dr. Morse’s opinion do not pass the requirement of
Daubert and its progeny. Therefore, Dr. Morse should not be allowed to offer these opinions

during the trial of this matter.

Respectfully submitted,

COZEN O’CONNOR
f

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CERTIFICATE OF SERVICE

I hereby certify that a true and correct copy of the foregoing was sent via eservice and/or
facsimile on this the 18" day of December, 2017 to the following:

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